Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 1 of 12 PageID #: 15323




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 PAMELA BUTLER, et al.,                           )
                                                  )
                    Plaintiffs,                   ) Case No. 4:18-cv-01701-AGF
         v.                                       )
                                                  )
 MALLINCKRODT LLC, et al.,                        ) Lead Case
                                                  )
                    Defendants.                   )

     MALLINCKRODT’S STATEMENT OF UNCONTROVERTED MATERIAL FACTS
             IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

        Defendant Mallinckrodt LLC (“Mallinckrodt”) submits the following uncontroverted

material facts in support of its Motion for Summary Judgment. Sections I, II and III of

Mallinckrodt’s Statement of Facts is identical to Cotter Corporation (N.S.L.)’s (“Cotter”)

Statement of Facts. Section IV, for both Cotter and Mallinckrodt, is particular to each defendant.

I.      INSTITUTE OF SUIT AND CASE MANAGEMENT ORDERS.

        1.     Plaintiffs filed suit against Defendants Mallinckrodt and Cotter on October 5, 2018,

asserted a single public liability cause of action pursuant to the Price-Anderson Act, and sought

damages for personal injuries. (ECF No. 1.)

        2.     Plaintiff Pamela Butler alleged radiation caused her breast cancer. (ECF No. 1,

Butler Compl. at ¶ 24; see also ECF No. 52-4, Defs.’ Ex. A4, Hu Report as to Butler.)

        3.     Butler alleged she lived in the vicinity of Coldwater Creek from 1983 to 1993. (Id.)

        4.     Plaintiff Kenneth Koterba alleged radiation caused his brainstem tumor. (See Case

No. 4:18-cv-01702-AGC, ECF No. 1, Koterba Compl. at ¶ 24; see also ECF No. 52-3, Defs.’ Ex.

A3, Hu Report as to Koterba.)

        5.     Koterba alleged he lived in the vicinity of Coldwater Creek since 1964. (Id.)
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 2 of 12 PageID #: 15324




        6.     Plaintiff Anthony Hines alleged radiation caused his mantle cell lymphoma. (See

Case No. 4.18-cv-01703-AGF, ECF No. 1, Hines Compl. at ¶ 24; see also ECF No. 52-1, Defs.’

Ex. A1, Hu Report as to Hines.)

        7.     Hines alleged he lived in the vicinity of Coldwater Creek from 1962 to 1974 and

from 1976 to 1982. (Id.)

        8.     Plaintiff Emery Walick alleged radiation caused his medulloblastoma. (See Case

No. 4:18-cv-01704-AGF, ECF No. 1, Walick Compl. at ¶ 24.)

        9.     Walick alleged he lived in the vicinity of Coldwater Creek from 1990 to 1997, 2008

to 2010, and 2012 to 2014. (Id.)

        10.    On October 15, 2018, Chief Judge Rodney Sippel entered an “Administrative Order

Regarding Radionuclide Exposure Claims against Mallinckrodt LLC and/or Cotter Corporation

(N.S.L.).” (ECF No. 63-10.) (The Court vacated this order with respect to other cases on April 12,

2022. ECF No. 111.)

        11.    On the same day, this Court entered Case Management Order No. 14 for Future

Consolidated Cases Filed Against Cotter Corporation (N.S.L.) and/or Mallinckrodt, LLC. (ECF

No. 63-9.)

        12.    The four lawsuits asserted by these plaintiffs were consolidated into McClurg on

November 13, 2018. (Scott D. McClurg v. Mallinckrodt, Inc., et al., 4:12-cv-00361-AGF, ECF No.

751.)

        13.    On June 16, 2019, the Court entered Case Management Order No. 1 for these

consolidated cases, which included additional deadlines to govern this matter, including a

supplemental expert designation deadline. (ECF No. 779.)




                                                2
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 3 of 12 PageID #: 15325




       14.     On November 12, 2020, the Court severed these four plaintiffs from McClurg into

their current consolidated action under lead Case No. 4:18-cv-01701-AGF, Pamela Butler, et al. v

Mallinckrodt, Inc., in the United States District Court for the Eastern District of Missouri. (ECF

No. 32.)

       15.     On August 18, 2021, Defendants filed Joint Motions to Exclude Plaintiffs’ Experts.

(ECF Nos. 47, 49 and 51.) The Court heard argument on those motions on March 10, 2022. (ECF

No. 90.)

       16.     On March 31, 2022, the Court issued an order partially granting Defendants’

motions to exclude plaintiffs’ experts. (ECF No. 104, Mem. and Ord.)

II.    THE COURT PARTIALLY GRANTED DEFENDANTS’ MOTIONS TO
       EXCLUDE PLAINTIFFS’ EXPERTS.

       17.     The Plaintiffs’ expert James Clark opined that he could calculate the dose of

radiation each Plaintiff received from his or her exposure to the radioactive material. (Mem. and

Ord. at 16-17; ECF No. 50-11, Defs.’ Mot. to Exc. Clark, Exs. K (ECF No. 50-11, Clark Report

as to Butler at 1-2), L (ECF No. 50-12, Clark Report as to Hines at 1-2), M (ECF No. 50-13, Clark

Report as to Koterba at 1-2,), and N (ECF No. 50-14, Clark Report as to Walick at 1-2.)

       18.     Dr. Clark also opined that the doses he calculated for each Plaintiff were far in

excess of “background” levels of radiation. (Mem. and Ord. at 18; Clark Report as to Butler at 36;

Clark Report as to Hines at 38; Clark Report as to Koterba at 35; Clark Report as to Walick at 25.)

       19.     Dr. Clark claimed he based his opinion on a methodology contained in the public

health assessment done by the U.S. Department of Health and Human Services Agency for Toxic

Substances and Disease Registry (“ATSDR”), which he attempted to apply to Plaintiffs without

support. (Mem. and Ord. at 16-17, 34-35; Clark Report as to Butler at 1-2; Clark Report as to Hines




                                                3
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 4 of 12 PageID #: 15326




at 1-2; Clark Report as to Koterba at 1-2; Clark Report as to Walick at 1-2; ECF No. 50-2, Clark

Dep. 131:21-24, 255:17-256:7.)

       20.     Dr. Clark also created his own “background” levels of radiation instead of using

the scientifically and legally accepted natural background number of 360 millirem, which is what

his principal source utilized. (Mem. and Ord. at 20-21; Clark Dep. 123:16-125:8, 131:21-24,

151:25-153:21,175:19-24, 216:6-11, 217:22-218:14, 255:17-256:7.)

       21.     The Court excluded Dr. Clark’s opinions in their entirety. (Mem. and Ord. at 36-

37.)

       22.     The Plaintiffs expert Howard Hu, M.D., offered a specific causation opinion that

radiation caused or contributed to the Plaintiffs’ cancers/tumor based on the doses Dr. Clark

calculated and their comparison to Dr. Clark’s background numbers. (Mem. and Ord. at 21; ECF

No. 52-1, Hu Report as to Hines; ECF No. 52-2, Hu Report as to Walick; ECF No. 52-3, Hu Report

as to Koterba; ECF No. 52-4, Hu Report as to Butler.)

       23.     The Court excluded Dr. Hu’s specific causation opinions that radiation caused or

contributed to the Plaintiffs’ cancers/tumor. (Mem. and Ord. at 38-39.)

       24.     The Plaintiffs’ expert James Wells offered an opinion that Mallinckrodt violated

applicable federal regulations at SLAPS because it violated 10 C.F.R. § 20.106(b) (1960), 25 Fed.

Reg. 8595, 8599 (Sept. 7, 1960). (Mem. and Ord. at 6; see also, ECF No. 48-1, Defs.’ Mot. to Exc.

Wells, Exhibit A, Wells Rep. at 12-16.)

       25.     Section 20.106 prohibits a licensee from “possess[ing], us[ing] or transfer[ring]

licensed material in such a manner as to release into air or water in any restricted area any

concentration of radioactive material in excess of limits specified in Appendix B, Table II, of this

part.” 10 C.F.R. § 20.106(b) (1960), 25 Fed. Reg. 8595, 8599 (Sept. 7, 1960).




                                                 4
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 5 of 12 PageID #: 15327




       26.     The regulation further states that “determinations as to the concentration of

radioactive material shall be made with respect to the point where such material leaves the

restricted area.” Id. § 20.106(c).

       27.     Dr. Wells did not evaluate the Manhattan Engineering District (“MED”) or Atomic

Energy Commission’s (“AEC”) oversight of Mallinckrodt during the applicable time-periods.

(ECF No. 48-4, Defs.’ Mot. to Exc. Wells, Exhibit D, Wells Dep. at 148.)

       28.     Dr. Wells’s opinion that releases of radon-222 at SLAPS were in excess of the

federal limits set forth in 10 C.F.R. § 20.106 (1960) was not based on annual averages and was

predicated on erroneous factual assumptions controverted by an undisputed factual record. (Mem.

and Ord. at 6-15 and 26-31; see also, ECF No. 48-1, Defs.’ Mot. to Exc. Wells, Exhibit A, Wells

Rep. at 12-16; ECF No. 48-7, Defs’ Mot. to Exc. Wells, Ex. G, “Radon Samples Taken in Airport

Area”; ECF No. 48-8, Defs’. Mot. to Exc. Wells, Ex. H “Table 1. Materials Stored at St. Louis

Airport Storage Site”; Wells Dep. at 171:23-172:1.)

       29.     Dr. Wells’s opinion that releases of thorium-230 at SLAPS were in excess of the

federal limits set forth in 10 C.F.R. § 20.106 (1960) was not based on annual averages. (Mem. and

Ord. at 6-15 and 26-31; see also Defs.’ Mot. to Exc. Wells, Exhibit A, Wells Rep. at 12-16; ECF

No. 48-10, Defs.’ Mot. to Exc. Wells, Ex. J, “Mallinckrodt Environmental Monitoring Report,

1960”; Wells Dep. at 189:7-20; 197:22.)

       30.     Dr. Wells’s opinion that releases of other unspecified radionuclides in soil and

sediment in and around Coldwater Creek exceeded the federal limits set forth in 10 C.F.R. § 20.106

(1960) failed to identify the specific radionuclides for which releases were alleged, did not identify

the annual average amount released, and did not state the applicable limit. (Mem. and Ord. at 29-




                                                  5
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 6 of 12 PageID #: 15328




30; ECF No. 48-5, Defs.’ Mot. to Exc. Wells, Exhibit E, Wells Supp. Report at 7-9; Wells Dep. at

224:11-225:16.)

       31.     The Court excluded Dr. Wells’s opinion that the concentrations of radon-220 and

thorium-230 at the boundary of SLAPS, and other unspecified radionuclides in soil and settlement

in and around Coldwater Creek, exceeded the federal limits set forth in 10 C.F.R. § 20.106 (1960).

(Mem. and Ord. at 30.)

       32.     Dr. Wells also opined that the concentrations of radon-220 and thorium-230 at the

boundary of Latty Avenue exceeded the federal limits set forth in 10 C.F.R. § 20.106(b) (1960).

(Mem. and Ord. at 30.)

       33.     The Court excluded Dr. Wells’s opinion that that the concentrations of radon-220

and thorium-230 at the boundary of Latty Avenue exceeded the federal limits set forth in 10 C.F.R.

§ 20.106(b) (1960). (Mem. and Ord. at 30.)

       34.     Dr. Wells’s reliance on radon measurements for SLAPS as a proxy for Latty

Avenue was fundamentally unsupported because it is undisputed that the radon measurements with

respect to SLAPS related to radon emissions from K-65 drums and that K-65 was never present at

Latty Avenue. (Mem. and Ord. at 30.)

       35.     Dr. Wells’s opinion that the concentrations of thorium-230 at the boundary of Latty

Avenue breached the federal standard between 1968 and 1971 also relied on calculations using

quarterly averages, when annual averaging is required to show a breach of § 20.106. (Mem. and

Ord. at 30.)

III.   FACTUAL BACKGROUND.

       36.     Defendant Mallinckrodt LLC is a Delaware limited liability company that is the

successor-in-interest to Mallinckrodt Chemical Works. (ECF No. 9, ¶ 25, Mallinckrodt’s Answer.)




                                                6
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 7 of 12 PageID #: 15329




       37.     The federal government contracted with Mallinckrodt for the production of

radioactive material for the Manhattan Project. (Mem. and Ord. at 2; Letter from R.J. Hart to

Harold Yeager regarding Radiological Resurvey of Mallinckrodt Facilities Utilized in MED/AEC

Contract Work dated July 6, 1977, attached as Exhibit A; Memorandum of Understanding between

Mallinckrodt Chemical Works and the University of Chicago dated April 23, 1942, attached as

Exhibit B; and Contract for Supplies between the United States of America and Mallinckrodt

Chemical Works dated Jul 20, 1942, attached as Exhibit C.)

       38.     In 1946, the federal government’s MED acquired an area north of the St. Louis

Airport known as “SLAPS” for purposes of storing waste from the Project. (Mem. and Ord. at 2;

ECF No. 48-2, Defs.’ Mot. to Exc. Wells, Exhibit B, SLAPS Historical Synopsis from Committee

Report on Disposition of St. Louis Airport Site at 1; Amendment No. 93 to Contract No. W-14-

108-Eng-8 dated July 20, 1953, attached as Exhibit D.)

       39.     The MED, and its successor, the AEC, operated and stored radioactive waste

product at SLAPS from 1946 until July 1953. (Mem. and Ord. at 2; ECF No. 48-2 Defs.’ Mot. to

Exc. Wells, Exhibit B, “SLAPS Historical Synopsis from Committee Report on Disposition of St.

Louis Airport Site,” at 1.)

       40.     The radioactive waste product stored at SLAPS included K-65, a radium-bearing

residue that produced radon. (ECF No. 104, Mem. and Ord. at 8; ECF No. 48-7, Defs’ Mot. to

Exc. Wells, Ex. G, U.S. Government Mem. “Radon Samples Taken in Airport Area,”; ECF No.

48-2 Defs.’ Mot. to Exc. Wells, Exhibit B, SLAPS Historical Synopsis from Committee Report on

Disposition of St. Louis Airport Site at 1.)




                                               7
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 8 of 12 PageID #: 15330




        41.     The AEC removed the K-65 from SLAPS by the end of 1949. (Mem. and Ord. at

2; ECF No. 48-8; Defs’. Mot. to Exc. Wells, Ex. H, “Table 1. Materials Stored at St. Louis Airport

Storage Site,”; ECF No. 48-4, Defs’. Mot. to Exc. Wells, Ex. D, Wells Dep. 182:9-18.)

        42.     The AEC contracted with Mallinckrodt to maintain SLAPS beginning in July of

1953 and continuing until February 14, 1966. (Mem. and Ord. at 2; ECF No. 48-1, Defs.’ Mot. to

Exc. Wells, Exhibit A, Wells Report at 12; Wells Dep. 107:10-12.)

        43.     Mallinckrodt performed all of its pertinent activities at SLAPS pursuant to contracts

with the federal government and the MED and AEC provided oversight and supervision of

Mallinckrodt’s activities. (ECF No. 48-6, Defs.’ Mot. to Exc. Wells, Exhibit F, Fleishman-Hillard

Report at 133, 155-56.)

        44.     Some of the radioactive waste product at SLAPS was transported to an interim

storage site in Hazelwood, Missouri, known as “Latty Avenue” or “HISS.” (Mem. and Ord. at 2.)

        45.     Between 1969 and 1973, Cotter possessed and managed the radioactive material at

HISS and Latty Avenue. (Mem. and Ord. at 2.)

IV.     AEC OVERSIGHT OF MALLINCKRODT’S WORK AND APPLICABLE
        REGULATIONS.

        46.     The AEC required its contractors to comply with the standards it adopted. (AEC

Manual Chapter 0524, Permissible Levels of Radiation Exposure attached hereto as Exhibit E;

John Frazier, Ph.D. Report attached hereto as Exhibit F at 14; Deposition of John Frazier, Ph.D.,

attached hereto as Exhibit G1; Amd. No. 45 of Contract No. W-14-108 eng-8 (effective as of

October 1, 1949) attached hereto as Exhibit H.)




1
 Exhibit G is the portion of Dr. Frazier’s deposition in which he testifies the Frazier Report contains his
opinions and the basis therefore, and he would testify accordingly at trial. The Frazier Report was Exhibit
2 to Dr. Frazier’s deposition.


                                                     8
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 9 of 12 PageID #: 15331




       47.       The AEC adopted its radiation standards from consensus standards developed by

the National Bureau of Standards (“NBS”) and National Committee on Radiation Protection and

Measurement (“NCRP”). (Maximum Permissible Radiation Exposures to Man attached hereto as

Exhibit I; Frazier Report at 14.)

       48.       In 1949, the NBS published Handbook 42, Safe Handling of Radioactive Isotopes.

(NBS Handbook, attached hereto as Exhibit J; Frazier Report at 13).

       49.       Handbook 42 imposed the limits on radiation and radioactive materials that may be

present in unrestricted areas from a Government facility. (NBS Handbook 42, attached as Exhibit

J; Frazier Report at 14.)

       50.       In anticipation of the publication of Handbook 42, the AEC issued Bulletin GM-

133 on June 10, 1949, which specified codes and standards applicable to AEC personnel and AEC

contractors. (McClurg, ECF No. 586-3, GM-133 at 3.)

       51.       Regarding radiation safety, the Bulletin mandated compliance with Handbook 42

and another NBS publication, Permissible External Dose. (McClurg, ECF No. 586-3, GM-133 at

3.)

       52.       The Atomic Energy Act of 1954 specifically authorized the AEC “to govern any

activity authorized pursuant to this chapter, including standards and restrictions governing the

design, location, and operation of facilities used in the conduct of such activity, in order to protect

health and to minimize danger to life or property.” 42 U.S.C. §§ 2201(i)(3) (1954).

       53.       Starting in 1957, the AEC issued Manual Chapters, rather than the Bulletins. (AEC

Manual Chapter 0524, Permissible Levels of Radiation Exposure attached as Exhibit E; Frazier

Report at 14.)




                                                  9
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 10 of 12 PageID #: 15332




        54.     The Manual Chapters expressly adopted specific NBS Handbooks and successive

 versions of the Manual Chapters were in effect until May 5, 1980. (U.S. Department of Energy

 Environmental Protection, Safety, and Health Protection Program for DOE Operations, attached

 hereto as Exhibit K; Frazier Report at 18-19.)

        55.     The standards for AEC licensees (i.e., 10 C.F.R. § 20) substantially agree with NBS

 Handbooks 52 and 59 which contain the standards applicable to AEC contractors during the

 relevant time periods. (10 C.F.R. Part 20, 22 FR 548, Standards for Protection Against Radiation,

 Atomic Energy Commission, Washington, DC, January 8, 1958 attached hereto as Exhibit L;

 Handbook 52, Maximum Permissible Amounts of Radioisotopes in the Human Body and Maximum

 Permissible Concentrations in Air and Water, National Bureau of Standards, Washington, DC,

 March 20, 1953 attached hereto as Exhibit M; Handbook 59, Permissible Dose from External

 Sources of Ionizing Radiation, National Bureau of Standards, Washington, DC, September 24,

 1954 attached hereto as Exhibit N; A Review of the History of U.S. Radiation Protection

 Regulations, Recommendation, and Standards, attached hereto as Exhibit O; Frazier Report at 21.)

        56.     Mallinckrodt was contractually bound to follow the MED and AEC regulations

 which obligated Mallinckrodt to perform all of its work in accordance with “all health and safety

 regulations and requirements of the [AEC].” (Amd. No. 45 of Contract No. W-14-108 eng-8

 (effective as of October 1, 1949) attached hereto as Exhibit H.)




                                                  10
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 11 of 12 PageID #: 15333




 Dated: May 6, 2022                         Respectfully submitted,


                                            By: /s/ David R. Erickson
                                                David R. Erickson, #31532MO
                                                Steven D. Soden, #41917MO
                                                Anthony R. Martinez, #61791MO
                                                Jason M. Zager, #59432MO
                                                Poston E. Pritchett, #72303MO
                                                SHOOK, HARDY & BACON LLP
                                                2555 Grand Boulevard
                                                Kansas City, Missouri 64108-2613
                                                Telephone: 816.474.6550
                                                Facsimile: 816.421.5547
                                                derickson@shb.com
                                                ssoden@shb.com
                                                amartinez@shb.com
                                                jzager@shb.com
                                                ppritchett@shb.com

                                            ATTORNEYS FOR THIRD PARTY
                                            DEFENDANT MALLINCKRODT LLC




                                       11
Case: 4:18-cv-01701-AGF Doc. #: 117 Filed: 05/06/22 Page: 12 of 12 PageID #: 15334




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 6th day of May, 2022, I served the above to the following

 counsel of record via the Court’s electronic filing system.

      Kenneth B. McClain #32430                          Brian O. Watson, #68678MO
      kbm@hfmlegal.com                                   Jennifer Steeve, #308082CA
      Jonathan M. Soper #61204                           Lauren E. Jaffe, #6316795IL
      jms@hfmlegal.com                                   RILEY SAFER HOLMES & CANCILA LLP
      Colin W. McClain #64012                            70 W. Madison St., Ste.
      cwm@hfmlegal.com                                   2900
      221 W. Lexington, Suite 400                        Chicago, Illinois 60602
      P.O. Box 900                                       (312) 471-8700 (main)
      Independence, Missouri 64050                       (312) 471-8701 (fax)
      (816) 836-5050                                     ecasmere@rshc-law.com
      (816) 836-8966 FAX                                 bwatson@rshc-law.com
                                                         jsteeve@rshc-law.com
                                                         ljaffe@rshc-law.com
  ATTORNEYS FOR PLAINTIFFS
                                                      ATTORNEYS FOR DEFENDANT
                                                      COTTER CORP. (N.S.L.)



                                                      By: /s/ David R. Erickson
                                                        David R. Erickson, #31532MO
                                                        Steven D. Soden, #41917MO
                                                        Anthony R. Martinez, #61791MO
                                                        Jason M. Zager, #59432MO
                                                        Poston E. Pritchett, #72303MO
                                                        SHOOK, HARDY & BACON LLP
                                                        2555 Grand Boulevard
                                                        Kansas City, Missouri 64108-2613
                                                        Telephone: 816.474.6550
                                                        Facsimile: 816.421.5547
                                                        derickson@shb.com
                                                        ssoden@shb.com
                                                        amartinez@shb.com
                                                        jzager@shb.com
                                                        ppritchett@shb.com

                                                      ATTORNEYS FOR DEFENDANT
                                                      MALLINCKRODT LLC




                                                 12
